ed 06/09/05 Page 1 of 2

 

QUIT CLAIM DEED
ko!

Know all men by these presents: That MUSA A. JEBRIL. and SUBHIEH JEBRIL, his wife

whese address is 4957 Rosalie Avenue, Dearborn, Michigan
1126056>:676 .

Quit Claims to SOBHTE SAID SALEM, a singie women
whose address is 4637 Palmer Avenue, Dearborn, Michigan

che following described premises situated in the City of Dearborn, County of Wayne
and State of Michigan, to wit:

Lot $301, CLOVERDALZ PARK SUBDIVISION, af part of fractimal Sectim 13, Tow 2 South,
Range 10 East, and parts of P.c. 52 and 222, Nocth of Michigan Ave., according to the

plat thereof recorded in Liber 34, Page 87 of Plats, Wayne County .
PARCELS $3 and #4, af PLAT OP SURVEY of part of the S.E. 1/4 of N.8. 1/4 of Fractional
Section 13, £238, R10 B, City of Dearborn, hxyne County, Michigan. More particularly
Geacribed a warranty deed recorded in Liber 7195, Pages 499-02 inc., Wayne County records.
Land in the City af Dearborn,County of wayne, State of Michisan, described as:

z 3 4 of Fractional Section 13, Tom 2 South,

Part of the Southeast 1/4 of the Northeast 1/.
described as beginning at a point on the Westerly
ne West 315.0 feet

Range 10 East, being nore particularily n

Ling of Cloverdale Park Subdiviaion, North 2 degrees 8 minutas 40 seconds .

from the intersection of the Westerly line of Cloverdale Park Subdivision with the North line
.0 feet wide and running thenos South 87 degrees 51 minutes 20

S683 Fe 26

i
:
i

thenca South 2 degrees 8 minutes 40
Subdivision, 35.0 feet to the place of beginning, excepting East 10 feet deeded for alley __ © 2
purpose. Sam
<2n &
za 83
mm
mi. t
Qa. wd
Exempt: Sec 207.505a, P.A. 327 of 1968 2c
=n =
“o>
for the full consideration of One (5:.00) Dollar x<mg —_
=D '
oa ~
Dated this Ee Day of October, 1992 “3 Qo ,
Witnesses:

Signed and Sealed: )

Zirys pee i. “usta Y- ZA;
Kennesh W/ Lieber Musa A. Jebril -
. . ce fee r ‘
, Ath Fue bbe Sale Luh. L | Aad
Lind@ J. McLueghlin Uv Subhien Jebril v7

STATE QF MICHIGAN) 55
COUNTY OF WAYNE )

The foregeing instrument was
by Musa A. Jebril and Subhien Jebril, his wife

 

 

 

acknowledged before me this @“# day of October, 1992

Kenwrion Lohse:

Kennetly W. Lieber, Notary Public,
Wayne County, Michigan
My commission expires: 9/13/93

Drafted by : Kenneth W. Lieber, Atty-ateLaw, 18708 Ecorse Rd., Allen Park, MJ 48101
Redan te: Genutee aC

"NO REVENUE A

 
 
 
     
       

   
 

QUIT CLAIM NER:
Cel. 148, 909.152

1 nk rn ~
lawyers ‘jille [nsurance Grporation

xT Bee —

 

 

    
    
   
      
  
 
  
 
 
  
 
 
  
  
  
   
  
 
 
  
   
  
      
   
    
     
    
    
   
   

PALLET

KNOW ALL MEN BY THESE PESEENTE: The: SOSEIE SAID SALEM. a single woman -
< or

ip

whoew addres fe 4637 Palmer Avenue, Dearhorn, MT R174 t
nw

wo

Quit Claims) to ZEINA JEBRIL. a
—

4957 Rosslie Avenue, Cearborn, Michigan 48126

ahr . . "0 .
City of Dearborn .

whose addessa it

tne following described premises siiveted In the

County of Wayne anid State of Michigan, to-wit: ‘
wn

Lot JC! of "CLOVERDALE PARK SURNTVISTON" as =
recorded in Liber 34, Page 87 of Plats,
Wayne County Records.

Exempt: Sec 207.505a, P.A. 327 of 1968.

$1.00 COPY 660
$4.00 REAONUNENTAT 10H

  

 

$7.00 DEED 8
RECORDED 3
FOREST . YOURGSLOM. REGISTER OF QETEae
BATHE COUNTY, af z
Receirt #8284 - N
~
oO
‘
fee the full consideration of One ($1.00) Dollar ©
=
Dated this , 29th dey of January 39 «93 2
Wiinessea! . Slgued ant Sealed: ‘3
La
Cire ett: Lesbos) Siblio. Silt bilge 0
Kennet}/W. ee Sobhie Said Salem 2
- ‘ nN
he fe wor”, HI VW Krecslt , _ a g
=z

 

 

 

Linda Jn ric Stang iu

 

 

{1.5}
STATE OF MICHIGAN :
ban
COUNTY OF .WaAyne : | (Ls)
The foregaing intirument was acknowledged ‘before me this 29th dey of = January » 93

by Sobhie Said Salem, a single woman

 
    

My commission pie 9/13/93 Kenneth W. Lieber
L Netery Public

Instrument . Business a7 F od atk oinel ur?
Dealted by YKenneth W. Lieber, Atty-at-law Address 187208. Feorse ~~? eels HEH 61

County, Michigan

  
 
 

 

 

When recorded return to.

 

Recording Fee —_$_——$ $$ 7
None Dearhorcn mre HG 13
Steve Transler Ta ————_—__- a
Y Send subsequent tos bits drew Adal
te

 

 

Tes Perce! § ———————

 
